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Attorneys for FIRST BANK & TRUST


                     UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF TEXAS
                             LUBBOCK DIVISION

In re:                                    §
                                          §
REAGOR-DYKES MOTORS, LP                   §     Case No. 18-50214-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________

In re:                                    §
                                          §
REAGOR-DYKES IMPORTS, LP                  §     Case No. 18-50215-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________

In re:                                    §
                                          §
REAGOR-DYKES AMARILLO, LP                 §     Case No. 18-50216-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________

In re:                                    §
                                          §
REAGOR-DYKES AUTO COMPANY, LP             §     Case No. 18-50217-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________




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In re:                                    §
                                          §
REAGOR-DYKES PLAINVIEW, LP                §     Case No. 18-50218-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________

In re:                                    §
                                          §
REAGOR-DYKES FLOYDADA, LP                 §     Case No. 18-50219-rlj11
                                          §
            Debtor.                       §
______________________________________________________________________________

                ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that, pursuant to Rule 9010(b), Fed. R. Bankr. P., Mark S.

Carder and Bruce E. Bagelman of Stinson Leonard Street LLP hereby enter their appearance in

the above-styled cases on behalf of FIRST BANK AND TRUST, Lubbock, Texas, a party in

interest, and, pursuant to Rules 2002 and 9007, Fed. R. Bankr. P., request that all notices and

pleadings given or required to be served in these proceedings be served upon the undersigned at

the office, postal and email addresses, and telephone and telecopy numbers listed below.

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes notices and

pleadings referred to in the Federal Rules of Bankruptcy Procedure and any applicable local

rules, and additionally includes, without limitation and where applicable, any application,

complaint, demand, notice of hearing, motion, objection, plan, disclosure statement, pleading, or

request, formal or informal, whether transmitted or conveyed by mail, email, telecopy or

otherwise.

         This notice shall not operate to waive any right of First Bank & Trust to withhold consent

to entry of final judgments by the Bankruptcy Court in particular proceedings in the captioned




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cases, withdraw the reference of any such proceedings to the District Court, or seek trial by jury

in any such proceedings.

                                                    STINSON LEONARD STREET LLP

                                                    By:         /s/ Bruce E. Bagelman      .
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                                                            Attorneys   for   FIRST    BANK     &
                                                            TRUST


                                CERTIFICATE OF SERVICE

        I certify that on August 7, 2018, a true and correct copy of the foregoing was served via
the Court's Case Management/Electronic Case Filing System to all parties authorized to receive
notice in this proceeding.


                                                                   /s/ Bruce E. Bagelman          .
                                                            Bruce E. Bagelman




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